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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS
                                WESTERN DIVISION
____________________________________
LIDIA LECH,                          )            C.A. No. 3:2017-cv-30024
                  Plaintiff,         )
      v.                             )
                                   1
DOROTHEA VON GOELER, MD, et al. )
                  Defendants.        )
___________________________________ )

                                         NOTICE OF APPEAL

The plaintiff, Ms. Lidia Lech, hereby appeals to the United States Court of Appeals for the First
Circuit from the final judgment entered on June 8, 2022, an order that adjudicates all claims and
the rights and liabilities of all parties.


Respectfully submitted,
Ms. Lidia Lech,
By her attorneys,                                          Dated: 6/27/2022

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 BAYSTATE MEDICAL PRACTICES, INC., HAMPDEN COUNTY SHERIFF'S
DEPARTMENT, MARIA DIAZ, NICOLE SKORUPSKI, ELIZABETH MEAUX,
SHANTELLE ROSADO, JULIE BELLE-ISLE, LYNN CHASE, MICHAEL J. ASHE, JR.,
NICHOLAS COCCHI, PATRICIA MURPHY, NATALIE CRUZ, MICHAEL VANCINI.
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                                  CERTIFICATE OF SERVICE

       I, John Godleski, counsel for Plaintiff, Lidia Lech, hereby certify that on June 27, 2022, I
served a copy of this document on all counsel of record via the Court’s ECF notification system.

                                              /s/ John Godleski
                                              John Godleski, Esq.




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